                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                            AT CHATTANOOGA


   AMERICAN COLLEGE OF                     )
   PEDIATRICIANS, on behalf of             )
   itself and its members; and             )        Case No. 1:21-cv-195
   CATHOLIC MEDICAL                        )
   ASSOCIATION, on behalf of itself        )        Judge Travis R. McDonough
   and its members,                        )
                                           )        Magistrate Judge Susan K. Lee
              Plaintiffs,                  )
                                           )
                                           )
         v.
                                           )
                                           )
   XAVIER BECERRA, et al.,
                                           )
                                           )
              Defendants.                  )

                                NOTICE OF APPEAL
        Plaintiffs American College of Pediatricians and Catholic Medical Association

  appeal to the United States Court of Appeals for the Sixth Circuit: from the

  Memorandum Opinion and order (Doc. 61), entered on November 18, 2022, as to

  dismissal of Claims One through Five of the first amended complaint (Doc. 15); and

  from the Order and final judgment as to those claims (Doc. 62), entered on
  November 18, 2022.

        Respectfully submitted this 13th day of January, 2023.


                                     By:     /s/ Matthew S. Bowman
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